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                                                                                     LII;T0FNEVAM
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     5

     6                              U NITED STA TE S D ISTR IC T C O U R T
                                          D ISTR IC T O F NEV A DA
     7

     8 IJNITED STATESOFAM ERICA,                         )
                                                         )
     9                         Plaintiff,                )
                                                         )
    10          v.                                       )              2:08-CR-31I-RLH (GW F)
                                                         )
    1l ARM EN AM BARTSUM YAN,                            )
                                                         )
    12                         Defendant.                )
    13                                FINA L O R D ER O F FO RFEITU R E

    14          On February 17,2011,theUnited StatesDistrictCourtfortheDistrictofNevadaentered a

    15 Preliminary OrderofForfeiturepursuanttoFed.R.Crim.P.32.2(b)(l)and(2);Title 18,United
    16 StatesCode,Section982(a)(2)(B);Title18,UnitedStatesCode,Section982(a)(1);Title18,United
    17 StatesCode,Section981(a)(1)(A)andTitlel8,UnitedStatesCode,Section981(a)(1)(C)andTitle
    18 28,United StatesCode,Section 2461(c),based upon the plea ofguilty by DefendantArmen
    19 Am bartsumyan tocrim inaloffenses,forfeitingspecificpropertyalleged intheSecondSuperseding
    20 Indictm ent,agreed to in the Plea M em orandum ,and shown by the U nited Statesto have a requisite

    21 nexus to the offense to w hich defendantA rm en Am bartsum yan pled guilty.Docket#272.
    22          This Court finds the U nited States of Am erica published the notice of the forfeiture in
    23 accordance w ith the law via the ofticial governm entinternetforfeiture site,ww w .forfeiture.gov,
    24 consecutively from M arch 8,2011,through to April6,2011,notifying a11known third partiesof
    25 theirrightto petition the Court.Docket*305,

    26                                                  1
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1         ThisCourtfindsnopetition wastiled hereinby oronbehalfofany personorentity and the

2 timefortiling such petitionsand claim shasexpired.
3         ThisCourtfindsnopetitionsarependingwithregardtotheassetsnamedhereinandthetime

4 forpresenting such petitionshas expired.
5         THEREFORE,IT IS HEREBY ORDERED,ADJUDOED,AN D DECREED thatal1right,

6 title,and interestin theproperty hereinafterdescribed iscondemned,forfeited,and vested in the

7 United StatesofAmericapursuantto Fed.R.Crim.P.32.2(b)(4)(A)and (B);Fed.R.Crim.P.
8 32.2(c)(2);Title18,UnitedStatesCode,Section982(a)(2)(B);Title18,UnitedStatesCode,Section
9 982(a)(1);Titlel8,UnitedStatesCode,Section981(a)(1)(A);Title18,UnitedStatesCode,Section
10 98l(a)(1)(C)'
               , Title28,United StatesCode,Section 2461(c);and Title21,United StatesCode,
11 Section 853(n)(7)andshallbedisposedofaccordingto law:
12        a.      Sony Brow n 42''Lcd Tv,Sm 1050106;
          b.      Sony Brown 42''Lcd Tv,Sm l002050;
13        c.      DellM odell320 LaserPrinter,Sm 35rphf1;
          d.      DellM odel l850 LaserPrinter,S/hiH 1c34091;
14        e.      AcerLaptop,Sm Lxa170x043820001et'2513;
          f.      DellX ps Laptop,Sm 5vg3kd1;
15        g.      Apple M ac Laptop,Sm W 8807f5d0:1;
          h,      Hp Laptop,Sm 2c272221116q;
16        i,      M ac Book A ir,Sm W 8813ppuy51;
          j,      MiscellaneousCards,Cables,Remotes,dontrollers,Stands;
17        k.      3.5 X Drive,Extend H ard drive,Sm 020851;
          1.      AppleTv,Sm 6fB182w04cp;
18        m.      W d ExternalHard Drive,Sm W x11207674808;
          n.      M sr206 Encoder,Sm A 015401;
19        o.      Psp Portable,Sm Pp865026504-Psp1001;
          p,      Psp Portable,Sm A4045924040-17sp2001;
20        q.      lpod Touch 16 Bg,Sm 1c801671 4p)
          r.      Iphone,Sm 5k81880jwh8;                                                          '
21        s.      lphone,Sm Bcga1241;
          t.      Iphone,Sm 5k802471:w1:8;
22        u.      Iphone,Sm 579ca1241;
          v,      Sandisk 2 Gb Flashdrive,S/lq 2048rb;
23        w.      Sandisk 4 Gb Flashdrive,Sm 4O96rb;
          x.      Sandisk 1Gb Flashdrive,Sm 1024rb;
24        y.      Pny A ttache 1 Gb Flashdrive,N o S/N;
          z.      Logitech M x Revolution Tlm m bdrive,Sm 810-000412;
25        ma,     Iron Key Thum bdrive,Sm 0140485;
26                                               2
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 1      ab.    Iron K ey Thum bdrive,Sm 0140551,
                                               .
        ac.    D ellXpsTower,Sm 30gzcg1;
 2      ad.    Playstation 3,Sm Ce124062502-Cecha01,
                                                   .
        ae,    Playstation 3,Sm Ce514635354-Cechg0l;
 3      af.    X box 360,Sm 311730682105*  ,
        ag.    X box 360,N o S/N ;
4       ah,    1 -X box 360 V ideo Gam e;
        ai.    11-Playstation 3Video Games;
 5      aj.    6-PspGamesInCase;
        ak.    35 -Blue Ray M ovies;
 6      al. W tj-90aTipper;
        am. $3,000 Cash(From GaryAmbatsumyan'srooml;
 7      an. $4900Cash(From ArturAmbartsumyan'sroom);
        ao.    $14,802.63 in M oney Gram M oney Orders'
                                                      ,
 8      ap.    M ens'Breitling Bentley W atch,Sm A25362;
        aq.    M ens'Breitling Bentley W atch;
 9      ar     counterfeitaccessdevice containing unauthorized accountinformation forVisa
               debitcard accountin the nam e ofM .V .,accountnum berending in X -4923)
10      as.    counterfeitaccessdevice containing unauthorized accountinfonnation for Visa
               debitcard accountin thenam eofG.V.,accountending in X-2319'       ,
11      at.    counterfeit access device containing unauthorized account inform ation for V isa
               debitcard accountin the nam e ofC .D .,accountending in X -1918,  '
12      au.    counterfeit access device containing unauthorized account inform ation for a
               Bank ofA m erica V isa debitcard account,accountending in X -7119,  .
13      av.    counterfeitaccess device containing unauthorized accotmt inform ation for Bank
               of America Visa debit card accountin the nam e of J.R.,account ending in X-
14             4609. ,
        aw.    cotmterfeit access device containing unauthorized account information for a
l5             Bank of Am erica Visa debitcard accountin the name of B.J.,accountending
               in X -1577.,
16      ax.    counterfeit access device containing unauthorized account information for a
               Bank ofAmerica Visa debitcard account,accountending inX-8491;
17      ay.    counterfeitaccess device containing unauthorized accountinform ation for Bank
               ofA m erica V isa debitcard account,accountending in X -6657.  ,
18      az.    counterfeitaccess device containing unauthorized accountinfonnation for Bank
               ofA m erica V isa debitcard account,accountending in X -9612'  ,
19      nnn.   counterfeitaccess device containing unauthorized accountinform ation for Bank
               of A m erica V isa debit card account in the nam e of G .S.,account ending in X-
20             2034, .
        aab.   counterfeitaccess device containing unauthorized accountinform ation forBank
21             of A m erica V isa debit card account in the nam e of C .S., account ending in X-
               3846, .
22      aac.   counterfeitaccess device containing unauthorized accountinform ation forBank
               of A m erica V isa debit card account in the nam e of S.K .,account ending in X-
23             5010' ,
        aad.   counterfeit access device containing unauthorized account inform ation for Bank
24             of A m erica V isa debit card account in the nam e of E.H ., account ending in X-
               4275' ,
25      aae.   counterfeitaccessdevice containing unauthorized accountinfonnation forBank
26                                             ?
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 1               of A m erica V isa debit card account in the nam e of B.W .,account ending in X -
                 7341;
 2          aaf. counterfeitaccess device containing unauthorized accountinfocnation for Bank
                 ofA m erica V isa debitcard account,accountending in X -3019;         '
 3          mag. counterfeitaccess device containing unauthorized account inform ation for Bank
                 ofAmerica Visa debitcard accountin the nam e of D.R,,accountending in X-
4                4018;
            aah. counterfeitaccess device containing unauthorized account inform ation for Bmzk
 5               ofAm erica V isa debitcard account,accountending in X -7017;
            aai. counterfeitaccess device containing unauthorized account infonnation for Bank
 6               ofAm ericaVisadebitcard account,accountending in X-6691,      .
            aaj. counterfeit access device containing unauthorized account information for
 7                W ells Fargo debitcard account?num berending in X -4424;
            aak. counterfeitaccessdevice contalning unauthorized accountinform ation for a
 8                W ellsFargo debitcard account?accountnumberending in X-7930)
            aal. counterfeitaccess device contalning unauthorized accountinform ation fora
 9                W ellsFargo debitcard account,num berending in X-6110;
            aam . 2008 W hite BM W M 5,V m W 8 5N 893548CX 09044;
10          aan. 2008 Black M ercedesBenz G -500 W agon,V m W DCY R49E38X 171546;
            aao. 2006BlackQuadCabDodgeDakotaTruck,Vm 117711A18286.1185015)and
11          aap. an in personam criminalforfeiture moneyjudgmentof$663,089,35 in United
                   States Currency.
l2
            IT IS FU RTHER OR DERED ,AD JUD G ED ,A N D D ECREED thatany and allforfeited
13
     funds,including butnotlim ited to,currency,currency equivalents,certificates ofdeposit,asw ell
14
     asany income derived asaresultofthe United StatesofAmerica'sm anagem entofany property
15
     forfeited herein,and the proceeds from the sale ofany forfeited property shallbe disposed of
16
     according to law .
17
            The Clerk ishereby directed to send copiesofthisOrderto al1counselofrecord and three
18
     certitied copiesto the United StatesAtlorney'sOflice.
19
            DATED this                day of                 ,2011.
20

21

22                                              Vm IT         TE      ISTRICT JU G E
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